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                          UNITED STATES DISTRICT COURT
20               NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
21                                                   Case No. 5:20-cv-05146-EJD-SVK
     PATRICK CALHOUN, et al., on behalf of
22   themselves and all others similarly situated,   JOINT STIPULATION AND [PROPOSED]
                                                     ORDER EXTENDING TIME FOR
23          Plaintiffs,                              GOOGLE TO SUBMIT DECLARATION
24                                                   IN SUPPORT OF PLAINTIFFS’ MOTION
                   v.
                                                     TO SEAL (DKT. 461)
25   GOOGLE LLC,
                                                     Judge:   Honorable Edward J. Davila
26          Defendant.
27

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                                                                   Case No. 5:20-cv-05146-EJD-SVK
                JOINT STIPULATION AND [PROPOSED] ORDER EXTENDING TIME FOR GOOGLE TO SUBMIT
                               DECLARATION IN SUPPORT OF PLAINTIFFS’ MOTION TO SEAL (DKT. 461)
       Case 5:20-cv-05146-EJD Document 470 Filed 01/19/22 Page 2 of 5




 1          Pursuant to Civil Local Rule 6-2, this joint stipulation is entered into between Plaintiffs and

 2 Google LLC (“Google”), collectively referred to as the “Parties.”

 3          WHEREAS, on January 10, 2022, Plaintiffs filed their Administrative Motion to Consider

 4 Whether Another Party’s Material Should be Sealed in support of Plaintiffs’ Opposition to Google’s

 5 Motion for Summary Judgment on Google’s First Affirmative Defense (Consent); Objections Per

 6 Civil L.R. 7-3(a) (Dkts. 461-462) (hereinafter, “Opposition”).

 7          WHEREAS, on January 11, 2022, Google received unredacted copies of Exhibits 1-74

 8 attached to the contemporaneously filed declaration of Jay Barnes in support of Plaintiffs’

 9 Opposition (Dkts. 461-462), approximately 60 of which were designated to be sealed;

10          WHEREAS, pursuant to Civil Local Rule 79-5(f), the current deadline for Google, as the

11 Designating Party, to establish that such designated material is sealable is by Tuesday, January 18,

12 2022;

13          WHEREAS, the Parties have met and conferred and given the volume of documents at issue

14 agree that additional time is needed for review;

15          WHEREAS, the Parties agree that an extension of time of 9 days will provide Google with

16 sufficient time to submit its declaration in support of its designated material in the filings (Dkts.

17 461-462);

18          NOW, THEREFORE, the Parties stipulate to and respectfully request the Court extend the

19 deadline by which Google shall submit a Declaration in support of Plaintiffs’ Motion to Seal (Dkt.

20 461) from January 18, 2022 to January 27, 2022.

21

22 DATED: January 18, 2022

23

24 BLEICHMAR FONTI & AULD LLP                         QUINN EMANUEL URQUHART &
                                                      SULLIVAN, LLP
25
   By:     /s/ Lesley Weaver                          By: /s/ Andrew H. Schapiro
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21                                                Attorneys for Defendant Google LLC
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                                                 -2-                Case No. 5:20-cv-05146-EJD-SVK
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                                 DECLARATION IN SUPPORT OF PLAINTIFFS’ MOTION TO SEAL (DKT. 461)
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 1                             ATTESTATION OF CONCURRENCE

 2         I am the ECF user whose ID and password are being used to file this JOINT STIPULATION
 3 AND [PROPOSED] ORDER EXTENDING TIME FOR GOOGLE TO SUBMIT DECLARATION

 4 IN SUPPORT OF PLAINTIFFS’ MOTION TO SEAL (DKT. 461). Pursuant to Civil L.R. 5-1(i)(3),

 5 I hereby attest that each of the signatories identified above has concurred in the filing of this

 6 document.

 7

 8 Dated: January 18, 2022                     By         /s/ Andrew H. Schapiro
                                                    Andrew H. Schapiro
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                                                    Counsel on behalf of Google
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                                               -3-                Case No. 5:20-cv-05146-EJD-SVK
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 1                                     [PROPOSED] ORDER

 2         Pursuant to stipulation of the Parties, the Court hereby ORDERS:

 3         The deadline for Google to submit a Declaration in support of Plaintiffs’ Motion to Seal

 4 (Dkt. 461), is January 27, 2022.

 5

 6         PURSUANT TO STIPULATION, IT IS SO ORDERED.

 7

                January 19 2022
 8 DATED: _______________,                            _______________________________

 9                                                    Hon. Edward J. Davila
                                                      United States District Judge
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                                               -4-                Case No. 5:20-cv-05146-EJD-SVK
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